       Case 2:10-cr-00305-MCE Document 65 Filed 09/11/12 Page 1 of 3


 1   LAW OFFICES OF RICHARD PACHTER
     Richard Pachter (SBN 120069)
 2   400 Capitol Mall, Suite 1610
     Sacramento, CA 95814
 3   Telephone: (916) 485-1617
     Facsimile: (916) 244-0529
 4   richard@pachterlaw.com (e-mail)
 5   Attorney for Defendant SIAVASH POURSARTIP
 6

 7                   IN THE UNITED STATES DISTRICT COURT FOR THE
 8                            EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,                         Case No. 2:10-CR-305 LKK
10                         Plaintiff,                  STIPULATION AND ORDER FOR
                                                       TEMPORARY MODIFICATION OF
11          v.                                         CONDITIONS OF PRE-TRIAL
                                                       RELEASE
12   SIAVASH POURSARTIP, et. al.
13                         Defendants.
14

15
            It is hereby stipulated and agreed by and between the United States of America and
16
     defendant Siavash Poursartip, through their respective attorneys, that the conditions of
17
     Defendant’s Pre-Trial Release can be temporarily modified to allow Defendant to visit his 86
18
     year-old mother in Iran, for three (3) weeks in October of this year; tentatively leaving by
19
     October 5, 2012 to return on or before October 26, assuming flight availability.
20
            To accomplish this, the parties agree that Defendant’s attorney can pick up
21
     Defendant’s passport from the Clerk of the Court upon the order having been issued by the
22
     Magistrate Judge. Further, Defendant’s attorney will provide Defendant with the
23
     information necessary to make reservations for his international flight and, once made, will
24
     provide the government with a copy of Defendant’s itinerary before giving Defendant his
25
     passport.
26
27

28
                                                  -1-
     STIPULATION AND [PROPOSED] ORDER FOR TEMPORARY MODIFICATION OF CONDITIONS OF RELEASE
       Case 2:10-cr-00305-MCE Document 65 Filed 09/11/12 Page 2 of 3


 1          The parties further stipulate that upon Defendant’s return to the United States, his

 2   passport will be returned to his Counsel and he will surrender it to the Clerk of the Court no

 3   later than October 31st, and the original conditions of release shall be reinstated.

 4

 5
     Dated: September 10, 2012                    BENJAMIN B. WAGNER
 6                                                UNITED STATES ATTORNEY

 7
                                                  By:/s/Phillip Ferrari
 8                                                       PHILLIP FERRARI
                                                        Assistant U. S. Attorney
 9                                                      (per email authorization)

10

11

12   Dated: September 10, 2012

13

14                                                /s/ Richard Pachter
                                                      RICHARD PACHTER
15                                                Attorney for Defendant SIAVASH
                                                  POURSARTIP
16

17                                                   ORDER

18          This matter having come on before me pursuant to the stipulation of the parties and

19   good cause appearing therefore:

20                  IT IS ORDERED THAT: Defendant SIAVASH POURSARTIP’S conditions

21   of Pre-Trial release shall be modified to allow him to travel to Iran, from October 5, 2012 to

22   return on or before October 26, 2012, or for dates available for that same period of three (3)

23   weeks, and that the Clerk of the Court is instructed to permit his counsel, Richard Pachter,

24   to retrieve his passport immediately. Counsel will not provide Defendant with the passport

25   until the government has been notified of his itinerary.

26   ////

27   ////

28   ////
                                                  -2-
     STIPULATION AND [PROPOSED] ORDER FOR TEMPORARY MODIFICATION OF CONDITIONS OF RELEASE
       Case 2:10-cr-00305-MCE Document 65 Filed 09/11/12 Page 3 of 3


 1                                FURTHER, that upon Defendant’s return to the Eastern District, he will

 2   return the passport to his Counsel who, in turn will file it with the Clerk of the Court no later

 3   than October 31st, and the original conditions of release shall be re-instated.

 4          Date: 9/11/2012

 5
                                                           _____________________________________
 6                                                         KENDALL J. NEWMAN
                                                           UNITED STATES MAGISTRATE JUDGE
 7

 8

 9
            DEAC_Signature-END:




10

11

12   ad4mc0d
13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                                  -3-
     STIPULATION AND [PROPOSED] ORDER FOR TEMPORARY MODIFICATION OF CONDITIONS OF RELEASE
